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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                              TEXARKANA DIVISION

  JUAN LOZADA-LEONI,                      §
                                          §
        Plaintiff,                        §
                                          §
  v.                                      §
                                          §   Civil Action No. 5:19-cv-00011-RWS-CMC
  MONEYGRAM INTERNATIONAL, INC.,          §
  JUAN MANUEL GONZALEZ and                §
  CHRISTOPHER PONDER in their official    §
  and individual capacities,              §
                                          §
        Defendants.                       §

               DEFENDANT MONEYGRAM PAYMENT SYSTEMS, INC.’S
                   MOTION TO DISMISS, OR ALTERNATIVELY,
               MOTION TO TRANSFER VENUE, AND BRIEF IN SUPPORT



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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                TEXARKANA DIVISION

  JUAN LOZADA-LEONI,                             §
                                                 §
         Plaintiff,                              §
                                                 §
  v.                                             §
                                                 §   Civil Action No. 5:19-cv-00011-RWS-CMC
  MONEYGRAM INTERNATIONAL, INC.,                 §
  JUAN MANUEL GONZALEZ and                       §
  CHRISTOPHER PONDER in their official           §
  and individual capacities,                     §
                                                 §
         Defendants.                             §

                DEFENDANT MONEYGRAM PAYMENT SYSTEMS, INC.’S
                    MOTION TO DISMISS, OR ALTERNATIVELY,
                MOTION TO TRANSFER VENUE, AND BRIEF IN SUPPORT

         Defendant MoneyGram Payment Systems, Inc. (“MPSI”) files its Motion to Dismiss, or

  Alternatively, Motion to Transfer Venue, and Brief in Support (“Motion”) and states:

                                           OVERVIEW

         1.      Plaintiff Juan Lozada-Leoni (“Plaintiff”) alleges that he is a former employee of

  MPSI, and that MPSI terminated his employment in violation of the Sarbanes-Oxley Act of 2002

  (“SOX”). However, Plaintiff never filed an administrative complaint with the United States

  Department of Labor (“DOL”) against MPSI. Instead, he made his administrative complaint

  against Defendant MoneyGram International, Inc. (“MGI”), which was not his employer. After

  more than 180 days had passed without the DOL having made a final determination, Plaintiff

  filed suit in this Court, alleging that MGI and former Defendants Juan Manuel Gonzalez

  (“Gonzalez”) and Christopher Ponder (“Ponder”) all took adverse employment actions against

  him in violation of SOX. MPSI was not initially named as a defendant.

         2.      Gonzalez and Ponder filed motions to dismiss pursuant to Rule 12(b)(1) and

  12(b)(6) because Plaintiff never filed an administrative complaint against them, meaning that the


  DEFENDANT MONEYGRAM PAYMENT SYSTEMS, INC.’S MOTION TO DISMISS
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  Court lacked subject-matter jurisdiction and/or that Plaintiff had failed to state a claim against

  each of them upon which relief may be granted. Faced with these motions and with the fact that

  he had sued the wrong entity, Plaintiff filed his Second Amended Complaint [Doc. 21],

  dismissing Gonzalez and Ponder and adding MPSI, his true employer, as a defendant. However,

  because Plaintiff did not name MPSI as a respondent in the DOL charge, the Court lacks

  subject-matter jurisdiction over MPSI and/or Plaintiff has failed to state a claim against MPSI

  upon which relief may be granted, and the Court should dismiss Plaintiff’s claims against MPSI

  pursuant to Rule 12(b)(1) and 12(b)(6).

         3.      Alternatively, and in addition, if the Court determines that it has subject-matter

  jurisdiction and that Plaintiff has stated a claim upon which relief may be granted, the Court

  should transfer this case to the Northern District of Texas, or the Sherman Division of this

  District, pursuant to 28 U.S.C. § 1404.

                          STATEMENT OF ISSUES TO BE DECIDED

         4.      Pursuant to Local Rule CV-7(a)(1), MPSI states that the issues to be decided by

  the Court in determining MPSI’s requests for case dispositive relief are:

                 a.    Whether the Court has subject-matter jurisdiction over Plaintiff’s

                       claims against MPSI; and

                 b.    Whether Plaintiff has stated a claim against MPSI upon which

                       relief may be granted.

         5.      If, and to the extent the Court determines both of those issues in favor of Plaintiff,

  the Court then must determine MPSI’s alternative request for non-case-dispositive relief in the

  form of a transfer of venue.




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                                                   EVIDENCE

           6.      Pursuant to Local Rule CV-7(b), MPSI has attached several documents in support

  of the Motion. With the exception of the Declaration of Elizabeth Weathers-Nguyen, which is

  offered only in support of MPSI’s argument in the alternative that the Court should transfer this

  case to a different venue, each of the attached documents appears in the administrative record of

  the proceeding from which Plaintiff purports to bring this action for de novo review. As set forth

  below, the Court is permitted to take judicial notice of these and other items and to consider them

  in determining MPSI’s grounds for dismissal under Federal Rule of Civil Procedure 12(b)(1) and

  12(b)(6) without converting the motion into a motion for summary judgment, and MPSI submits

  them for that purpose, and for the convenience of the Court.

      FACTS AND FACTUAL ALLEGATIONS, INCLUDING PROCEDURAL HISTORY

           7.      Background Regarding MPSI and MGI. MPSI is a Delaware corporation, with

  its principal place of business at 2828 N. Harwood Street in Dallas, Texas. See Exhibit 1, at ¶ 3.1

  MPSI is a subsidiary of MGI.             [Id.]   MGI is also a Delaware corporation, and is also

  headquartered at 2828 N. Harwood Street in Dallas, Texas. [Id., ¶ 2.] MPSI maintains its

  personnel records for all U.S. offices in Dallas. [Id., ¶ 3.] MPSI has no office or employees

  within the Texarkana Division. [Id.] MPSI gave Plaintiff an offer letter for employment from

  MPSI, which he accepted. [Id., ¶ 4, and Ex. 1.] MPSI employed Plaintiff from approximately

  October 2016 until approximately April 2017, when MPSI terminated his employment. [Id.,

  ¶ 4.] Plaintiff worked for MPSI at its office located at 3000 Internet Boulevard in Frisco, Texas.

  [Id.] That office space is leased by MPSI, not MGI. [Id.] MGI does not transact business in




  1
      Declaration of Elizabeth Weathers-Nguyen.


  DEFENDANT MONEYGRAM PAYMENT SYSTEMS, INC.’S MOTION TO DISMISS
  OR ALTERNATIVELY, MOTION TO TRANSFER VENUE, AND BRIEF IN SUPPORT                             Page 3
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  MPSI’s Frisco, Texas office, or anywhere else in the Eastern District of Texas. [Id.] Plaintiff

  has never been employed by MGI. [Id., ¶ 5.]

           8.       Plaintiff’s Original DOL Complaint Against MGI. After MPSI terminated

  Plaintiff’s employment, Plaintiff (through counsel) filed a “formal complaint under Section 806

  of the Sarbanes-Oxley Act of 2002” with OSHA. See Exhibit 2.2 MGI is the only identified

  respondent. [Id.] OSHA determined from the face of the complaint that Plaintiff had not even

  “present[ed] a prima facie showing” of liability.                It issued a letter on October 12, 2017,

  dismissing the complaint for that reason. See Exhibit 3.3 The DOL advised Plaintiff that he had

  “30 days from the receipt of these Findings to file objections and to request a hearing before an

  Administrative Law Judge.” [Id.] Plaintiff lodged objections on November 13, 2017, and

  requested a hearing in front of an ALJ. See Exhibit 4.4

           9.       The ALJ Proceeding. The DOL opened Case Number 2018-SOX-00004, which

  it styled Juan Lozada-Leoni v. MoneyGram International, and assigned the case to

  Administrative Law Judge Tracy A. Daly. Judge Daly issued a Notice of Case Assignment and

  Prehearing order on January 11, 2018. See Exhibits 5 and 6.5 In that Notice, Judge Daly ordered

  Plaintiff to file a “detailed Pleading Complaint” by January 25, 2018. See Exhibit 6, at p. 3.

           10.      In a February 23, 2018 Notice of Hearing Date and Filing Deadlines, Judge Daly

  also imposed a March 15 deadline for “dispositive and joinder motions.”                      See Exhibit 7.6


  2
      September 28, 2017, SOX Complaint submitted to OSHA Region Six Administrator by counsel for Plaintiff.
  3
     October 12, 2017, letter from OSHA Regional Supervisory Investigator Angela Fisher to counsel for Plaintiff,
  advising of OSHA’s dismissal of the Complaint.
  4
     November 13, 2017, letter from counsel for Plaintiff to the Chief Administrative Law Judge, Department of
  Labor, objecting to the dismissal and requesting a hearing on the record.
  5
      Exhibit 5: Docket sheet for Case No. 2008-SOX-00004, Juan Lozada-Leoni v. MoneyGram International, before
  the United States Department of Labor. Exhibit 6: Notice of Case Assignment and Prehearing Order, issued on
  January 11, 2018.
  6
      Notice of Hearing Date and Filing Deadlines, issued on February 23, 2018.


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  Plaintiff filed no such motion.          Plaintiff filed his Original [Administrative] Complaint on

  March 5, 2018. See Exhibit 8.7 Plaintiff identified only one respondent — MGI — and did not

  seek relief against any party other than MGI. [Id.] MPSI, despite having been Plaintiff’s

  employer, was not named. [Id.] Plaintiff filed his First Amended [Administrative] Complaint on

  March 26, 2018. See Exhibit 9.8 Again, MGI was the only respondent and the only party against

  whom Plaintiff sought relief. [Id.]

           11.     MPSI Put Plaintiff on Notice. Presuming that Plaintiff’s decision to file his

  complaint against MGI rather than against his employer, MPSI, had been inadvertent rather than

  deliberate, MPSI responded to Plaintiff’s First Amended [Administrative] Complaint on April 6,

  2018. See Exhibit 10.9 In particular, MPSI filed the Response as “Respondent MoneyGram

  Payment Systems, Inc., improperly named herein as MoneyGram International.” [Id., at p. 1.]

  In answering Plaintiff’s allegation that MGI employed him, “MoneyGram state[d] that

  Complainant was employed by MoneyGram Payment Systems, Inc. rather than by MoneyGram

  International[.]” [Id., at § II, ¶ 1.]

           12.     Plaintiff Acknowledged MPSI as his Former Employer in the ALJ

  Proceeding. Plaintiff gave deposition testimony on May 23, 2018. Again, MGI and MPSI were

  up front:

                      Q:     Will you please state and spell your full name for the record,
                             please.
                      A:     Juan Lozada-Leoni. . . .

                      * * *




  7
      Juan Lozada-Leoni’s Original Complaint, filed on March 5, 2018.
  8
      Juan Lozada-Leoni’s First Amended [Administrative] Complaint, filed on March 26, 2018.
  9
      Response to Revised First Amended [Administrative] Complaint, filed on April 6, 2018.


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                        Q:     Okay. And, sir, my name is John Barcus. I’m with the Ogletree
                               Deakins Law Firm and I represent MoneyGram Payment
                               Systems, Incorporated. Do you understand that?
                        A:     I do.
                        Q:     And if I refer in this deposition simply to “MoneyGram,” do you
                               understand that I mean the entity that was your former
                               employer, MoneyGram Payment Systems, Incorporated?
                        A:     I do.

   See Exhibit 11, at pp. 4:10–5:1 (emphasis added).10 Despite the Response, and despite admitting

   that MPSI employed him, Plaintiff failed to amend his administrative complaint to identify MPSI

   as a respondent, or to assert claims against MPSI.

             13.     Plaintiff’s Election to File This Suit. After already having continued the final

   hearing once, at Plaintiff’s request, on December 19, 2018, Judge Daly set the ALJ Proceeding

   for a bifurcated final hearing beginning on January 16, 2019. See Exhibit 12.11 Rather than

   allow Judge Daly to conduct the final hearing, on December 21, 2018, counsel for Plaintiff

   “informally notified” Judge Daly of his client’s intention to “exercise his right under 29 C.F.R.

   1980.114 to bring this matter in a U.S. District Court. In pertinent part, Complainant[’s] counsel

   advised that ‘next week we will be filing the formal removal notice under Section 1980.114.’”

   See Exhibit 13.12 Judge Daly entered an order suspending the existing filing deadlines and

   directing Plaintiff to provide a copy of the promised federal complaint by January 4, 2019. [Id.]

             14.     Plaintiff Tries to File Suit in the Northern District.                  After obtaining an

   extension of time to provide evidence of filing of his federal complaint, at 4:16 p.m. on

   January 23, 2019, counsel for Plaintiff delivered a letter by fax to Judge Daly, attaching what

   purported to be copies of three filings, and stating as follows:

   10
        Excerpts from the May 23, 2018, Deposition of Juan Lozada-Leoni.
   11
        December 19, 2018, Order Establishing Hearing Filing Deadlines and Notice of Additional Hearing Session.
   12
        Order Suspending Filing Deadlines, issued on December 27, 2018.


   DEFENDANT MONEYGRAM PAYMENT SYSTEMS, INC.’S MOTION TO DISMISS
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             15.      Enclosed please find your copy of the following:

                             Plaintiff Juan Lozada-Leoni’s Original Complaint
                             Plaintiff’s Civil Cover Sheet
                             Plaintiff’s Certificate of Interested Parties

             We are currently experiencing technical difficulties with the Northern District
             of Texas ECF filing system.
             As soon as we get a docket number assigned to this Original Complaint, we will
             provide you with a copy of same.

   See Exhibit 14 (emphasis added).13 The version of the complaint attached to the fax bore the

   style of this case — with MGI, Gonzalez, and Ponder, but not MPSI, named as defendants — but

   identified the court as the Northern District of Texas, Dallas Division. [Id.]

             16.      Plaintiff Files Suit in this District. At 10:45 p.m. on January 23, 2019, counsel

   for Plaintiff emailed Judge Daly to advise that the “technical difficulties” were ongoing, and that

   “rather than run the risk of violating Judge Daly’s order that no more extensions would be

   granted beyond today, out of an abundance of caution we went ahead and filed in the Eastern

   District.” See Exhibit 15.14 Plaintiff’s counsel remarked that his “preliminary research indicates

   that venue would be proper in both Districts.” [Id.] On January 24, 2019, Judge Daly issued an

   Order of Dismissal, acknowledging what he believed to be a complaint that had been filed in the

   Northern District of Texas, Dallas Division, and ordering that “the complaint filed in this matter

   under the Sarbanes-Oxley Act is DISMISSED with prejudice.” See Exhibit 16.15

             17.      After Plaintiff filed his Original Complaint [Doc. 1], on January 23, 2019, the

   undersigned counsel contacted counsel for Plaintiff to ask why the case had been filed in this

   13
        January 23, 2019, fax from counsel for Plaintiff.
   14
        January 23, 2019, email from counsel for Plaintiff.
   15
       January 24, 2019, Order of Dismissal. Judge Daly appears to have received or reviewed the January 23 fax, but
   not the late-night January 23 email, prior to issuing the Order of Dismissal.


   DEFENDANT MONEYGRAM PAYMENT SYSTEMS, INC.’S MOTION TO DISMISS
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   Division, and to determine the connection, if any, between this Division and the claims in the

   lawsuit. Counsel for Plaintiff advised again that “there was some last minute glitch in my filing

   number in the Northern District, so I decided to file in the Eastern District.” See Exhibit 17.16

   As to the question regarding the nexus between the Texarkana Division and the claims in the

   suit, counsel for Plaintiff deflected, stating that he would “defer answers . . . when we respond to

   what I’m sure will be a Motion to Transfer. . . . The firms that I have interviewed for local

   counsel are fairly confident that we can keep the case in the Texarkana Division, so we will see

   how accurate that prediction is.” [Id.] Pressed again to answer the simple question of why the

   Texarkana Division is a proper venue, counsel for Plaintiff indicated, “I will let my local counsel

   do the talking for me.” [Id.] On March 20, 2019, Plaintiff filed his First Amended Complaint

   (“Complaint”) [Doc. 4]. Plaintiff again did not name MPSI as a defendant.

             18.      The Motions to Dismiss. On April 11, 2019, MGI filed its Motion to Dismiss for

   Improper Venue, or Alternatively, Motion to Transfer Venue, and Brief in Support [Doc. 5.];

   Gonzalez filed his Motion to Dismiss, or Alternatively, Motion to Transfer Venue, and Brief in

   Support [Doc. 6], and Ponder filed his Motion to Dismiss, or Alternatively, Motion to Transfer

   Venue, and Brief in Support [Doc. 7.]

             19.      Briefly stated, Gonzalez (a Florida resident) argued that the Court lacked personal

   jurisdiction over him, and that Plaintiff had failed to exhaust his administrative remedies against

   Gonzalez by failing to name him as a respondent in the OSHA complaint or in the administrative

   proceeding, and asked the Court to dismiss Plaintiff’s claim against him pursuant to Rules

   12(b)(3) (personal jurisdiction), 12(b)(1) (subject matter jurisdiction), and 12(b)(6) (failure to

   state a claim).        Ponder sought dismissal under Rules 12(b)(1) and 12(b)(6) on the same


   16
        February 6, 2019, email from counsel for Plaintiff.


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   failure-to-exhaust grounds. Both Ponder and Gonzalez argued, in the alternative, that the Court

   should transfer venue to the Northern District of Texas, Dallas Division, or to the Sherman

   Division of this District.

           20.     In its motion, MGI has urged the Court to first determine Gonzalez and Ponder’s

   motions, and then, after dismissing them, to dismiss Plaintiff’s remaining claim against MGI

   because jurisdiction is not proper in the Eastern District, or alternatively, to transfer Plaintiff’s

   claim against MGI (and against the individuals, if the Court declined to dismiss them) to the

   Northern District of Texas, Dallas Division, or to the Sherman Division of this District, pursuant

   to 28 U.S.C. § 1404.

           21.     Plaintiff’s Dismissals and Amendments. Plaintiff initially sought and obtained

   an extension of time to respond to the motions to dismiss through May 9, 2019. [Doc. 12, 14.]

   Counsel for Plaintiff then advised that (1) in light of the (non-venue-related) grounds for

   dismissal raised by Gonzalez and Ponder, Plaintiff intended to amend to dismiss those

   defendants with prejudice, and (2) he intended to amend again to add claims against MPSI, all

   prior to or contemporaneously with his response to the venue motions, and he sought a further

   extension of time to accomplish all of this, which Defendants did not oppose. [Doc. 16.]

           22.     On May 16, 2019, Plaintiff filed his Response in Opposition to All Defendants’

   Jurisdictional Motions (“Response”) [Doc. 19], and his Second Amended Complaint [Doc. 21].

   As promised, Plaintiff dismissed Gonzalez and Ponder, and added a single cause of action

   against MPSI for unlawful retaliation in violation of SOX.          [Second Amended Complaint

   [Doc. 21], ¶¶ 88-90.] It is styled as a cause of action against “Defendants,” i.e., MGI and MPSI.

   [Id.] Plaintiff now acknowledges that he was employed by MPSI, rather than MGI. [Id., ¶ 4.]

   He continues to allege that he “has . . . exhausted his administrative remedies,” but has not



   DEFENDANT MONEYGRAM PAYMENT SYSTEMS, INC.’S MOTION TO DISMISS
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   alleged that he did so with respect to any particular defendant. [Id., ¶ 3.] Plaintiff has not

   alleged any facts connecting his claims to this Division. Indeed, apart from the dismissal of

   Gonzalez and Ponder, and the addition of MPSI, the Second Amended Complaint is

   substantively identical to the First Amended Complaint.

           23.     In the Response, Plaintiff argues in summary fashion that jurisdiction is proper in

   this District over his claims against MGI and, in the alternative, that the Court should not

   exercise its discretion to transfer this case to the Northern District of Texas, Dallas Division, or

   to the Sherman Division of this District because, in his view, the “public and private interest

   factors” weigh against transfer. Contemporaneously with this Motion, MGI has filed its Reply in

   Support of its Motion to Dismiss, explaining why dismissal for improper venue, or discretionary

   transfer under Section 1404, remains appropriate, despite the addition of MPSI as a party.

                                  ARGUMENT AND AUTHORITY

           Based on the foregoing facts, and for each of the following reasons, the Court should

   grant the Motion and dismiss Plaintiff’s claim against MPSI, or alternatively, should exercise its

   discretion to transfer this case to the Northern District of Texas, Dallas Division, or to the

   Sherman Division of this District.

   A.      The Court should dismiss Plaintiff’s claims against MPSI pursuant to Rule 12(b)(1),
           because Plaintiff failed to exhaust his administrative remedies, depriving the Court
           of subject matter jurisdiction.

           24.     The Court should dismiss Plaintiff’s claims against MPSI under Rule 12(b)(1),

   because Plaintiff’s failure to exhaust his administrative remedies has deprived the Court of

   jurisdiction.




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           1.      In determining a Rule 12(b)(1) motion, the Court may go outside the four
                   corners of the Complaint.

           25.     In considering a 12(b)(1) motion, “a court may evaluate (1) the complaint alone,

   (2) the complaint supplemented by undisputed facts evidenced in the record, or (3) the complaint

   supplemented by undisputed facts plus the court’s resolution of disputed facts.” Blanchet v.

   Chevron/Texaco Corp., 368 F. Supp. 2d 589, 594-595 (E.D. Tex. 2004). See, e.g., Blankenship

   v. Buenger, 653 Fed. App’x 330, 334 (5th Cir. 2016) (in analysis of subject-matter jurisdiction

   for Rule 12(b)(1) motion, court may properly consider the complaint, undisputed facts in the

   record, and its own resolution of disputed facts). This is because the Court “has broader power

   to decide its own right to hear the case than when the merits of the case are reached[.]”

   Blanchet, 368 F. Supp. 2d at 595 (quoting Williamson v. Tucker, 645 F.2d 404, 413 (5th Cir.),

   cert. denied, 454 U.S. 897 (1981)).

           26.     In the Second Amended Complaint, Plaintiff has alleged that he “timely filed a

   complaint with the United States Department of Labor. More than 180 days have elapsed since

   the filing of that complaint. Plaintiff has therefore exhausted his administrative remedies.”

   [Second Amended Complaint (Doc. 21), ¶ 3.] Precisely because Plaintiff fails to identify the

   respondent(s) named in his administrative complaint, he has arguably done enough to survive a

   “facial attack” on subject-matter jurisdiction. See Blanchet, 368 F. Supp. 2d at 595 (explaining

   that facial attacks on subject matter jurisdiction look only at the allegations in the complaint and

   accept them as true, whereas “factual attacks” challenge “the existence of subject matter

   jurisdiction . . . irrespective of the pleadings”).17 However, the Court need not go very far




   17
      See, e.g., Nguyen v. Federal Deposit Ins. Corp., No. 1:13-cv-668, 2018 WL 4293140, *3 (E.D. Tex. Aug. 15,
   2018) (Crone, J.) (granting motion to dismiss based on “factual attack,” and explaining the difference).


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   outside the Complaint to make the factual determination that Plaintiff failed to exhaust his

   administrative remedies, but it may do so.

          2.      Plaintiff’s failure to exhaust deprives the Court of subject-matter
                  jurisdiction; dismissal under Rule 12(b)(1) is therefore appropriate.

          27.     Dismissal under Rule 12(b)(1) is “predicated on the fact that federal courts are

   courts of limited jurisdiction. Federal courts must have both personal jurisdiction over the

   parties and subject-matter jurisdiction over the cause of action.” Kurth v. Gonzales, 469 F. Supp.

   2d 415, 420 (E.D. Tex. 2006). “It is presumed that a case lies outside of the court’s limited

   jurisdiction, and the burden of establishing jurisdiction is with the party asserting jurisdiction.”

   Id. (citing Kokkomen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994)).

          28.     In some instances, “carrying that burden requires a showing of prior exhaustion of

   administrative remedies. This requirement stems from the fact that Congress may elect to grant

   jurisdiction over particular causes of action to administrative agencies. Under the doctrine of

   administrative exhaustion, claimants who do not first exhaust prescribed administrative remedies

   are not entitled to seek judicial relief.” Kurth, 469 F. Supp. 2d at 420-421 (citing Bush v. Lucas,

   462 U.S. 367, 378 (1983)).

          29.     As the Fifth Circuit recently made clear, if there is a “statutory requirement of

   exhaustion of administrative remedies,” the exhaustion requirement is jurisdictional, and a

   failure to exhaust opens the door to a motion to dismiss under Rule 12(b)(1). Williams v. J.B.

   Hunt Transp., Inc., 826 F.3d 806, 810 (5th Cir. 2016).         See Blankenship v. Buenger, 653

   Fed. App’x 330, 334 (5th Cir. 2016) (motions to dismiss that rely “in part on matters of subject

   matter jurisdiction [are] more properly considered under Rule 12(b)(1)” than under

   Rule 12(b)(6)); Taylor v. United States Treasury Dep’t, 127 F.3d 470, 475 (5th Cir. 1997)




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   (explaining that statutory exhaustion requirements are “tantamount to legislative investiture of

   exclusive original jurisdiction in the agency”).

           30.      SOX Requires Exhaustion of Remedies. There is no dispute that there is a

   statutory requirement of exhaustion of administrative remedies in SOX. An employee seeking

   relief under SOX must first file a complaint with OSHA, the agency with delegated authority to

   receive such complaints. 29 C.F.R. § 1980.103(c) (1998); see 18 U.S.C. § 1514A(b)(1)(A)

   (2006) (person who alleges discharge in violation of SOX may seek relief by “filing a complaint

   with the Secretary of Labor” or “if the Secretary has not issued a final decision within 180 days

   of the filing of the complaint . . . bringing an action at law or equity for de novo review in the

   appropriate district court of the United States”). Plaintiff has acknowledged the exhaustion

   requirement. [Second Amended Complaint (Doc. 21), ¶ 3.]

           31.      The Fifth Circuit has considered and expressly rejected an argument that “SOX

   contains no exhaustion requirement and that, to the contrary, merely filing a charge with OSHA

   that triggers an investigation is enough to permit a future district-court filing that is not limited

   by the scope of that charge.” Wallace v. Tesoro Corp., 796 F.3d 468, 475 (5th Cir. 2015). “The

   reason for the exhaustion requirement in Title VII applies with equal force to SOX.                           An

   administrative charge is not filed as a preliminary to a lawsuit. Instead, its purpose is to trigger

   the agency’s defined investigation and conciliation procedures.                        It would thwart the

   administrative scheme to allow plaintiffs to sue on claims that the agency never had the chance

   to investigate and attempt to resolve.” Id.18 There is no dispute, based on the administrative

   record contained in the Appendix, that Plaintiff never identified MPSI as a respondent at any



   18
       The Secretary of Labor agrees that SOX has an exhaustion requirement, and told the Fifth Circuit in an amicus
   brief that “a complainant’s subsequent district court complaint may contain only those claims that were filed with
   the agency.” Id. at 476 n. 6.


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   level of the administrative proceeding, despite being put on actual notice that MPSI was his

   employer, and despite having ample opportunity to amend. Accordingly, because Plaintiff failed

   to exhaust his administrative remedies, the Court must dismiss Plaintiff’s claims against MPSI

   under Rule 12(b)(1).

          32.        Plaintiff Failed to Exhaust Regarding MPSI. Not only did Plaintiff fail to

   identify MPSI as a respondent, he failed altogether to mention MPSI in the factual narrative in

   the Administrative Complaint. Even if he had, it would not have been enough. The case of

   Bozeman v. Per-Se Technologies, Inc., 456 F. Supp. 2d 1282 (N.D. Ga. 2006), upon which

   Gonzalez and Ponder relied in persuading Plaintiff to voluntarily dismiss his claims against

   them, is instructive. In Bozeman, the plaintiff alleged that the corporate defendant and two of its

   individual managers had retaliated against him and constructively discharged him in violation of

   Section 806 of SOX. Bozeman, 456 F. Supp. 2d at 1356. The court observed that “before an

   employee can assert a cause of action in federal court under the Sarbanes-Oxley Act, the

   employee must file a complaint with OSHA and afford OSHA the opportunity to resolve the

   allegations administratively.” Id. (quoting Willis v. Vie Financial Group, Inc., No. 04-435, 2004

   WL 1774575, at *6 (E.D. Pa. Aug. 6, 2004)). If the employee files a complaint with OSHA and

   it is not resolved within 180 days, “the employee is authorized to proceed with an action in

   federal court based on that violation (i.e., no further exhaustion of administrative remedies

   required).” Id.




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           33.      However, a “federal court can only conduct a ‘de novo review’ of those SOX

   whistleblower claims that have been administratively exhausted.” Bozeman, 456 F. Supp. 2d at

   1357 (quoting Willis, 2004 WL 1774575, at *6)).19 Just as Plaintiff has done, the plaintiff in

   Bozeman named a corporate defendant as the sole respondent in his administrative complaint

   filed with OSHA, before naming that entity and two others (his managers) as defendants in the

   lawsuit. Id. As the court explained in dismissing the claims against the individuals, “while the

   regulations implementing SOX may provide for individual liability, that does not obviate the

   need for Plaintiff to exhaust his administrative remedies for each claim he seeks to assert

   against each defendant. . . . As the Plaintiff did not specifically name [the individual

   managers] in the OSHA proceedings, he, thus, failed to exhaust his administrative remedies with

   respect to them.” Id.

           34.      Notice to OSHA is what matters. The Bozeman court considered and squarely

   rejected the plaintiff’s only attempt to excuse his noncompliance: “The Plaintiff contends that

   [the individual managers] are covered by the administrative complaint he filed with OSHA

   because they are identified as actors in his complaint, and were, therefore, on notice as to the

   claims against them. The Court disagrees and finds the Plaintiff’s arguments uncompelling.” Id.

   The Bozeman court relied on Hanna v. WCI Communities, Inc., No. 4-80595-CIV, 2004 WL

   6072492, at *7 (S.D. Fla. Nov. 29, 2004) in support of its holding. In Hanna, the plaintiff named

   the corporate defendant and four individuals as respondents in his SOX administrative

   complaint, but did not name a fifth individual as a respondent, even though the administrative

   complaint referred to the fifth individual’s “role in terminating him.”                            Hanna, 2004

   19
       Citing, inter alia, McClendon v. Hewlett-Packard Co., No. 05-087-S-BLW, 2005 WL 2847224, at *2-4
   (D. Idaho Oct. 27, 2005) (district court may only conduct ‘de novo review’ of claims that have been administratively
   exhausted); Hanna v. WCI Communities, Inc., 348 F. Supp. 2d 1322, 1324-1329 (S.D. Fla. 2004) (same); Murray v.
   TXU Corp., 279 F. Supp. 2d 799, 802 (N.D. Tex. 2003) (district court lacks subject-matter jurisdiction over
   Section 806 claim if plaintiff has failed to comply with administrative procedures).


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   WL 6074292, at *1. When that fifth individual was named as a defendant in the plaintiff’s

   lawsuit, he filed a motion to dismiss for failure to exhaust administrative remedies. Id.20

           35.      The Hanna court granted the motion. As in Bozeman, the plaintiff conceded that

   the fifth individual “was not named in the heading of the administrative complaint,” but asserted

   that the claim against him should not be dismissed because he “was identified as an actor in

   [plaintiff’s] termination on page 5 of [the] administrative claim” and thus “was on notice as to

   the claims against him at an administrative level.” Id., at *2. Rejecting this argument, the court

   held:

                 [Plaintiff’s] argument misunderstands the purpose of filing an
                 administrative complaint under the Sarbanes–Oxley Act’s procedural
                 framework. As stated above, the Act requires an aggrieved employee to
                 file an administrative complaint to “afford OSHA the opportunity to
                 resolve the allegations administratively.” [Plaintiff’s] failure to name
                 [the fifth individual] in his administrative complaint failed to afford
                 OSHA the opportunity to resolve [Plaintiff’s] allegations through the
                 administrative process. Even if the court assumed that [the fifth
                 individual] was placed on notice that he had allegedly violated the law,
                 that notice has no consequence as to whether OSHA was placed on
                 notice that it was required to investigate [the fifth individual’s] actions
                 in this case.

   Hanna, 2004 WL 6074292, at *3 (internal citations omitted). The Bozeman court relied on the

   same rationale: “the Plaintiff never provided OSHA with an opportunity to issue a final decision

   within 180 days of his filing his administrative complaint as to the claims he raises against [the

   two managers] because he failed to specifically name them in the heading of his administrative

   complaint.” Bozeman, 456 F. Supp. 2d at 1358.




   20
       The defendant filed under Rule 12(b)(6) rather than Rule 12(b)(1). The substantive analysis, for the reasons
   discussed below, is the same.


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            36.      Many other courts have reached the same conclusion. See, e.g., Feldman-Boland

   v. Stanley, No. 15-cv-6698, 2016 WL 3826285, at *5 (S.D.N.Y. Jul. 13, 2016) (granting motion

   to dismiss, and holding that mentioning the individual in the body of the administrative

   complaint is not sufficient); Lutzeier v. Citigroup, Inc., No. 4:14-CV-183 RLW, 2015 WL

   1033696, at *2 (E.D. Mo. Mar. 9, 2015) (relying on Bozeman and other authority, and dismissing

   plaintiff’s claims against an individual not named as a respondent in the plaintiff’s administrative

   complaint, despite the individual having “admittedly rather extensively” been named in the body

   of the complaint);21 Parker v. Lithia Motors, Inc., No. CIV 13-1182 RB/GBW, 2014 WL

   12789711 (D. N.M. Jul. 2, 2014) (granting motion to dismiss because plaintiffs failed to list

   individual defendants as “named persons” alleged to have violated the Act in their OSHA

   complaint, and noting that “courts that have considered this issue as well as the applicable

   regulations uniformly hold that a plaintiff may not assert a claim under [SOX] against a

   particular defendant unless he has exhausted his administrative remedies as to that defendant,”

   and that it is “insufficient to merely mention an individual in the body of an administrative

   complaint”); Bridges v. McDonald’s Corp., No. 09-cv-1880, 2009 WL 5126962 (N.D. Ill.

   Dec. 21, 2009) (granting motion to dismiss despite the fact that individual was “identified as an

   actor and witness in the [administrative] complaint and therefore was on notice of the claim

   against her”); Smith v. Corning Inc., No. 06-CV-6516 CJS, 2007 WL 2120375 (W.D.N.Y.

   Jul. 23, 2007) (granting motion to dismiss and holding that “it is not sufficient to merely mention




   21
      In Lutzeier, the court noted that the relevant “administrative regulations require that a defendant be listed as a
   ‘named’ respondent who is alleged to have violated the Act. See 29 C.F.R. 1980.101(5) (“Respondent means the
   person named in the complaint who is alleged to have violated the Act”); 29 C.F.R. 1980.104(a) (“Upon receipt of a
   complaint in the investigating office, the Assistant Secretary will notify the respondent of the filing of the complaint
   by providing a copy of the complaint[.]”).” Lutzeier, 2015 WL 1033696, at *2.


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   the individual in the body of the administrative complaint” because the relevant regulations

   require otherwise).22

           37.      Here the facts are undisputed. MGI is the only respondent Plaintiff identified in

   his original administrative complaint submitted to OSHA and his original and amended

   administrative complaints filed in the ALJ proceeding, including amendments Plaintiff filed after

   being put on notice that MPSI, not MGI, was his employer. MPSI is not mentioned in the OSHA

   letter, or in the administrative complaint. In the Second Amended Complaint, Plaintiff alleges

   that he exhausted his administrative remedies by filing the OSHA complaint and requesting a

   final hearing. [Second Amended Complaint (Doc. 21), ¶ 3.] He does not allege that he named

   MPSI as a respondent at any stage of the administrative proceeding. On these facts, the law is

   clear. Plaintiff has failed to exhaust his administrative remedies regarding MPSI and, as a result,

   the Court lacks subject-matter jurisdiction over his sole claim against MPSI. The Court should

   dismiss that claim pursuant to Rule 12(b)(1).

   B.      Alternatively, Plaintiff has failed to state a claim against MPSI on which relief may
           be granted, and the Court should dismiss pursuant to Rule 12(b)(6).

           38.      Even if exhaustion of administrative remedies were not a jurisdictional

   prerequisite to suit under SOX, which it is, the Court should dismiss still Plaintiff’s claims

   against MPSI pursuant to Rule 12(b)(6), because Plaintiff has failed to state a claim upon which

   relief may be granted.




   22
       None of the courts in Bozeman, Hanna, Feldman-Boland, Parker, Bridges, or Smith were even called on to
   consider and distinguish contrary authority regarding SOX exhaustion, except for brief mention in Bridges of a case
   involving a pro se plaintiff, who submitted a SOX complaint with all of the formality and precision to be expected
   from a pro se plaintiff. Plaintiff is represented by a highly capable attorney who holds himself out as the “Dallas
   Whistleblower Lawyer” and who “routinely handles high-stakes Sarbanes-Oxley . . . claims.”                      See
   http://www.dallaswhistleblowerlawyer.com.


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          39.     The Court is not confined in its analysis to the four corners of the Second

   Amended Complaint. Instead, in considering a Rule 12(b)(6) motion involving a failure to

   exhaust administrative remedies, the Court may take judicial notice of the underlying

   administrative record. See, e.g., Hawkins v. AT&T, No. 3:12-cv-1173-L, 2013 WL 4505154, at

   *3 (N.D. Tex. Aug. 23, 2013) (granting 12(b)(6) motion and noting that “documents contained in

   a Title VII administrative record are public records for which the court can take judicial notice

   and consider in a motion to dismiss”); Crosby v. Philip Holdings, LLC, No. H-12-01749, 2012

   WL 5456360, at *2 and n. 5 (S.D. Tex. Nov. 7, 2012) (noting a lack of clarity in the case law

   regarding whether failure to exhaust “falls under 12(b)(1) or 12(b)(6),” but noting that “even if

   this issue properly falls under a 12(b)(6) analysis, [documents from the administrative record]

   may be considered without converting this motion into one for summary judgment”); McClendon

   v. Hewlett-Packard Co., No. CV-05-087-S-BLW, 2005 WL 2847224, at *2-3 (D. Idaho Oct. 27,

   2005) (without specifying whether the dismissal was pursuant to Rule 12(b)(1) or 12(b)(6),

   granting motion to dismiss SOX claim for failure to exhaust and, in so doing, taking judicial

   notice of portions of the DOL administrative records submitted by the defendant).

          40.     For all of the reasons set forth above, it is undisputed that Plaintiff failed to

   exhaust his administrative remedies with regard to the claim he now asserts against MPSI.

   Because exhaustion of administrative remedies is a statutory prerequisite to filing suit alleging a

   whistleblower retaliation claim under SOX, Plaintiff has failed to state a claim upon which relief

   may be granted, and the Court should dismiss Plaintiff’s claim against MPSI with prejudice,

   pursuant to Rule 12(b)(6).




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   C.      Further amendment would be futile.

           41.    The Court need not afford Plaintiff an opportunity to amend his pleadings for a

   third time, because any such amendment would be futile. Regardless of any allegations Plaintiff

   might include in a third amended complaint, it is undisputed from the face of the administrative

   record that Plaintiff did not bring an administrative complaint against MPSI. Plaintiff cannot

   now run to the DOL to file an administrative claim; the deadline was 180 days after the alleged

   discriminatory act. 18 U.S.C. § 1514A(b)(2)(D). Plaintiff alleges that he “was fired” in April

   2017.

   D.      Alternatively, the Court should transfer this case to the Northern District of Texas,
           or to the Sherman Division of this District.

           42.    In the alternative, if the Court determines that it has subject-matter jurisdiction

   over Plaintiff’s claim against MPSI, and that Plaintiff has stated a claim against MPSI upon

   which relief may be granted, the Court should transfer this case to the Northern District of Texas,

   Dallas Division, or alternatively, to the Sherman Division of this District. As discussed above,

   on April 11, 2019, MGI filed its Motion to Dismiss for Improper Venue or, Alternatively,

   Motion to Transfer Venue and Brief in Support (the “MGI Motion”) [Doc. 5], to which Plaintiff

   filed his Response [Doc. 19] on May 15, 2019. Contemporaneously with this Motion, MGI has

   filed its Reply in Support of its Motion to Dismiss, in which it has addressed Plaintiff’s

   substitution of MPSI for Gonzalez and Ponder as the “other” defendant(s).

           43.    In the MGI Motion and accompanying Reply, MGI has demonstrated that, on the

   assumption the claims against MPSI are dismissed, the Eastern District is not a proper venue,

   and Plaintiff’s remaining claims against MGI must be dismissed, or must be transferred to the

   Northern District pursuant to 28 U.S.C. § 1406. MPSI finds no fault in this analysis. However,

   to the extent the Court determines — for whatever reason — that the Eastern District is a proper



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   venue, the Court should exercise its discretion to transfer this case to the Northern District of

   Texas, which (for the reasons articulated the MGI Motion and Reply) is the most convenient

   venue for all parties and witnesses, pursuant to 28 U.S.C. § 1404(a). Alternatively, the Court

   should exercise its discretion to transfer this case to the Sherman Division of this District. In

   determining whether to exercise its discretion to transfer a case pursuant to Section 1404(a),

   courts apply the so-called “public and private interest factors,” which apply equally to motions to

   transfer between district and to transfers between divisions of the same district. In re Radmax,

   Ltd., 720 F.3d 285, 287 (5th Cir. 2013).

          44.      If the Court dismisses Plaintiff’s claims against MPSI for lack of subject-matter

   jurisdiction, or because Plaintiff has failed to state a claim against MPSI upon which relief may

   be granted, MPSI has no stake in selecting the place where Plaintiff’s remaining claim against

   MGI is litigated. However, for the reasons set forth in the MGI Motion and Reply, which MPSI

   expressly incorporates herein by reference, to the extent the Court does not dismiss Plaintiff’s

   claim against MPSI, the “public and private interest factors” favor transfer away from this

   District and Division, which Plaintiff has now admitted has no “local interest” in the resolution

   of this dispute. [Response (Doc. 19), at p. 17.] The Court should, at minimum, exercise its

   discretion under Section 1404(a) and transfer this case to the Northern District of Texas, Dallas

   Division, or alternatively, to the Sherman Division of this District.

   E.     Costs.

          45.      If the Court grants the Motion pursuant to Rule 12(b)(1), the Court should award

   MPSI its just costs pursuant to 28 U.S.C. § 1919. If the Court grants the Motion pursuant to

   Rule 12(b)(6), the Court should award MPSI its costs of court pursuant to Rule 54(d).




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                                        RELIEF REQUESTED

          For the foregoing reasons, MPSI respectfully requests that the Court grant the Motion;

   dismiss Plaintiff’s claims and causes of action asserted against it, or alternatively, transfer this

   case to the Northern District of Texas, Dallas Division, or to the Sherman Division of this

   District; award MPSI its costs of Court; and grant all other relief, general or special, at law or in

   equity, to which MPSI may be justly entitled.


                                             Respectfully submitted,


                                             By:      /s/ John M. Barcus
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                                             ATTORNEYS FOR DEFENDANTS



                                    CERTIFICATE OF SERVICE

         The foregoing instrument was filed using the Court’s CM/ECF system on June 5, 2019,
   which will transmit a copy to all counsel of record.


                                              /s/ John M. Barcus
                                             JOHN M. BARCUS


                                                                                              38752444.2




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